        Case 17-10346-TPA                       Doc 75        Filed 05/27/22 Entered 05/27/22 15:49:33                     Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              KENNY E. MORROW


     Debtor 2              TAMMY L. MORROW
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-10346TPA




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  M & T BANK                                                                       2

 Last 4 digits of any number you use to identify the debtor's account                         9   7   1   0

 Property Address:                             23256 THOMAS RD
                                               CAMBRIDGE SPRINGS PA 16403




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $           0.00

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $           0.00

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $           0.00



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $682.38
         The next postpetition payment is due on                 7 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     KENNY E. MORROW                                                  Case number   (if known)   17-10346TPA
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    05/27/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     KENNY E. MORROW                                            Case number   (if known)   17-10346TPA
             Name




                                             Disbursement History

Date         Check #   Name                                   Posting Type                                              Amount
MORTGAGE REGULAR PAYMENT (Part 3)
08/25/2017   1052521   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                            3,291.97
09/26/2017   1055867   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              983.27
10/25/2017   1059202   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              712.54
11/21/2017   1062431   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              712.54
12/21/2017   1065785   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              712.54
01/25/2018   1069051   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              712.54
02/23/2018   1072210   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              739.84
03/28/2018   1075429   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
04/24/2018   1078655   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
05/25/2018   1081950   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
06/22/2018   1085049   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
07/26/2018   1088303   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
08/28/2018   1091524   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
09/25/2018   1094649   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
10/29/2018   1097910   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
11/27/2018   1101005   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
12/21/2018   1104121   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              721.64
02/25/2019   1110622   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                            1,430.86
03/25/2019   1113907   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              717.50
04/26/2019   1117256   WELLS FARGO BANK NA                    AMOUNTS DISBURSED TO CREDITOR                              717.50
05/24/2019   1119583   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
06/25/2019   1122980   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
07/29/2019   1126427   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
08/27/2019   1129895   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
09/24/2019   1133201   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
10/24/2019   1136529   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
11/25/2019   1139999   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
12/23/2019   1143381   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
01/28/2020   1146837   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
02/25/2020   1150362   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
03/23/2020   1153845   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
04/27/2020   1157305   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
05/26/2020   1160643   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
06/26/2020   1163781   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
07/29/2020   1166901   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              717.50
08/25/2020   1169979   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              757.62
09/28/2020   1173063   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              701.01
10/26/2020   1176152   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              708.96
11/24/2020   1179229   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              708.62
12/21/2020   1182182   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              354.26
01/25/2021   1185146   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                            1,061.27
02/22/2021   1188271   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              708.18
03/26/2021   1191550   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              900.73
04/26/2021   1194810   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              726.95
05/25/2021   1197943   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              726.95
06/25/2021   1201126   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              722.44
07/26/2021   1204327   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              729.84
08/26/2021   1207450   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              728.57
09/24/2021   1210568   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              726.95
10/25/2021   1213646   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              726.95
11/22/2021   1216682   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                            1,092.60
01/26/2022   1222818   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              728.98
02/23/2022   1225703   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              682.38
03/25/2022   1228656   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                              682.38
04/26/2022   1231702   M & T BANK                             AMOUNTS DISBURSED TO CREDITOR                            1,427.64
                                                                                                                      44,313.28




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

KENNY E. MORROW
TAMMY L. MORROW
23256 THOMAS ROAD
CAMBRIDGE SPRINGS, PA 16403

LAUREN M LAMB ESQ
STEIDL & STEINBERG
707 GRANT ST 28TH FLOOR
PITTSBURGH, PA 15219

M & T BANK
ATTN PAYMENT PROCESSING
POB 1288
BUFFALO, NY 14240-1288

M & T BANK
PO BOX 840
BUFFALO, NY 14240

MCCALLA RAYMER ET AL
NATL BANKRUPTCY DEPT**
1544 OLD ALABAMA RD**
ROSWELL, GA 30076-2102




5/27/22                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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